                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                       Plaintiffs,
                                                           Case No. 3:21-cv-00419
               v.

UNITED STATES OF AMERICA,

                       Defendant.



                                     NOTICE OF LETTERS
       A case management conference is scheduled for February 10, 2022. Plaintiffs submit this

notice to inform the Court, prior to that conference, about the most recent developments in this

case. Exhibit A is a letter from Defendant’s counsel stating that the IRS has been authorized to

provide Plaintiffs a refund. Exhibit B is a letter from Plaintiffs’ counsel rejecting Defendant’s offer

of a refund. Plaintiffs look forward to discussing these and other matters at the February 10

conference.




    Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 1 of 6 PageID #: 104
                                     Respectfully submitted,

                                     /s/ Cameron T. Norris

                                     CONSOVOY MCARTHY PLLC
                                     Jeffrey M. Harris
                                     Cameron T. Norris
                                     1600 Wilson Boulevard, Suite 700
                                     Arlington, VA 22209
                                     Telephone: 703.243.9423

                                     FENWICK & WEST LLP
                                     David L. Forst
                                     Sean P. McElroy
                                     801 California Street
                                     Mountain View, CA 94041
                                     Telephone:     650.988.8500
                                     Facsimile:     650.938.5200

                                     J. Abraham Sutherland
                                     104 Prospect Street
                                     Black Mountain, NC 28711
                                     Telephone: 805.689.4577

                                     DATED:         February 3, 2022

                                     Attorneys for Plaintiffs




                                 2
Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 2 of 6 PageID #: 105
                   Exhibit A




Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 3 of 6 PageID #: 106
                                                       U.S. Department of Justice


                                                       Tax Division
                                                       Civil Trial Section, Eastern Region
DAH:DSM:ROMcMonagle                                    P.O. Box 227             Telephone: 202-307-1355
DJ 5-71-3294                                           Washington, D.C. 20044   Telecopier: 202-514-6866
CMN 2021100798




Via First-Class Mail and Email

David Forst
Fenwick & West LLP
801 California Street
Mountain View, CA 94041
DForst@fenwick.com

               Re:     Joshua and Jessica Jarrett v. United States
                       3:21-cv-00419 (M.D. TN.

Dear Mr. Forst:

        This refers to the above-entitled action in which plaintiffs seek a refund of federal income
taxes for the 2019 tax year. We write to inform you that a full refund of $3,793, plus statutory
interest, sought in the complaint for the 2019 tax year has been approved on behalf of the
Attorney General.

       Accordingly, the Internal Revenue Service has been authorized and directed to schedule
an overpayment of $3,793, plus statutory interest as provided by law for the 2019 tax year.

                                                     Sincerely yours,

                                                     DAVID A. HUBBERT
                                                     Deputy Assistant Attorney General

                                              By:
                                                    DEBORAH              Digitally signed by
                                                                         DEBORAH MELAND

                                                    MELAND               Date: 2021.12.20
                                                                         16:49:51 -05'00'
                                                     DEBORAH S. MELAND
                                                     Chief, Civil Trial Section, Eastern Region




    Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 4 of 6 PageID #: 107
                   Exhibit B




Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 5 of 6 PageID #: 108
January 25, 2022


Ryan McMonagle
United States Department of Justice, Tax Division
P.O. Box 227
Washington D.C. 20044

       Re: Joshua & Jessica Jarrett v. United States (3:21‐cv‐00419 M.D. Tenn.)

Dear Mr. McMonagle,
         Thank you for forwarding Assistant Attorney General Hubbert’s December 20, 2021
letter in which he proffers a refund to the Jarretts of the disputed 2019 tax year amount. Thank
you as well for emailing the draft stipulation of dismissal on January 5, 2022, and for the call on
January 14, 2022. The draft stipulation suggests that, in the Department of Justice’s view, the
proffered refund brings the parties’ dispute to an end. Particularly after our recent call, we
cannot share that view.
        During the call, you were unable or unwilling to explain the reasons for the
Department’s proffer, or its meaning for the Jarretts in subsequent tax years – or, indeed, in
2019 itself. The IRS will also apparently not provide any assurances with respect to the sole
issue that gave rise to this litigation – whether tokens created through staking a particular
cryptocurrency constitute taxable income at the time of their creation. As the question will
arise for the Jarretts again in subsequent tax years, they would remain at risk even if they
accepted the proffered refund. Notably, you stated on the call that the IRS has not yet
processed any refund for the Jarretts.
         Therefore, the Jarretts reject the proffered refund and intend to continue vindicating
their rights in court. We are happy to discuss next steps with you at your convenience.


                                                     Sincerely yours,



                                                     David Forst
                                                     FENWICK & WEST LLP




    Case 3:21-cv-00419 Document 37 Filed 02/03/22 Page 6 of 6 PageID #: 109
